            Case 2:13-cr-00406-TLN Document 18 Filed 02/05/14 Page 1 of 2


     Shari Rusk, Bar No. 170313
 1   Attorney at Law
     Box 188945
 2   Sacramento, California 95818
     Tel: (916) 804-8656
 3   Fax: (916)443-1165
     Email: Rusklaw@comcast.net
 4

 5
                       IN THE UNITED STATES DISTRICT COURT
 6
                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8                                       ) Case No.: CR.S. 13-406 JAM
     United States of America,           )
 9                                       ) STIPULATION AND ORDER TO CONTINUE
                Plaintiff,               ) INITIAL APPEARANCE
10                                       )
          vs.                            ) Court: Hon. Kendall J. Newman
11                                       ) Time:   2:00 a.m.
                                         ) Date:   February 10, 2014
12   Sarah Bastin,                       )
                                         )
13              Defendant.
14

15

16
          IT IS HEREBY STIPULATED by and between the parties hereto through

17   their respective counsel, JILL THOMAS, Assistant United States

18   Attorney, undersigned attorney for defendant, Sarah Bastin

19   that the initial appearance and arraignment on the indictment be
20   continued from February 7, 2014 to February 10, 2014.
21
     DATED: February 4, 2014                   Respectfully submitted,
22
                                                     /s/ Shari Rusk________
23                                                   SHARI RUSK
                                                     Attorney for Sarah Bastin
24

25
     DATED: February 4, 2014                         /s/ Jill Thomas
26                                                   JILL THOMAS
                                                     Assistant U.S. Attorney
27

28




                                         -1-
              Case 2:13-cr-00406-TLN Document 18 Filed 02/05/14 Page 2 of 2



 1                                 ORDER

 2

 3        IT IS SO ORDERED.

 4   Dated:   February 4, 2014

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28




                                           -2-
